Case: 1:18-cv-05587 Document #: 1147-11 Filed: 01/27/22 Page 1 of 1 PageID #:54644




                                  EquityBuild Finance, LLC
                                     5068 W Plano Pkwy, #300
                                         Plano, TX 75093
                                       Main: (800) 991-4642
                                       Fax: (239) 244-8666


                      From: 7752 S Muskegon Investors C/O EquityBuild Finance, LLC



                                           PAYOFF

   Loan Number:
   Subject Property: 7752 S Muskegon Ave., Chicago, IL 60649.
   Note: This note/security instrument is due for payment September 30, 2017.

   Unpaid Principal Balance: ………………………………………………………………...…….$1,170,000.00

   Interest at 16% from 09/01/17 to 09/30/17: ...................................................$15,600.00

   Total Amount Due under Note/Security Instrument:..............................$1,185,600.00

   This figure is accurate until September 30th, 2017, or until any activity occurs
   on this account. Funds received after that date will be subject to an additional
   $520.00 of interest per Day.

   WHERE TO SEND PAYOFF FUNDS
   By Wire:                                                                              By Overnight:
   Wells Fargo Bank, N.A.                                                     EquityBuild Finance, LLC
   Routing/ABA #                                                            5068 W Plano Pkwy., #300
   For Final Credit to: EquityBuild Finance, LLC                                      Plano, TX 75093
   Escrow Account #

   FUNDS MUST BE RECEIVED BY 2 P.M. EASTERN TIME FOR SAME‐DAY PROCESSING.

   PAYOFFS ARE NOT POSTED ON WEEKENDS OR HOLIDAYS, INTERESR WILL BE ADDED TO
   THE ACCOUNT FOR THESE DAYS.
   ALL FIGURES ARE SUBJECT TO FINAL VERIFICATION BY THE NOTEHOLDER. ALL
   REMITTANCES MUST BE MADE BY CASHIER’S CHECK OR CERTIFIED FUNDS.
